Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 1 of 67 PageID: 1




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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 MICHAEL STEWART, BRIAN ROEDER,             Civil Action No. ________________
 LORENZO HAMILTON, BEN
 REHKEMBER, ANN BRUMBACK,
 AMANDA MCAVOY, and KAREN                           COMPLAINT and
 RYDER, individually and on behalf of all        DEMAND FOR JURY TRIAL
 others similarly situated,

                            Plaintiffs,

          vs.

 SAMSUNG ELECTRONICS AMERICA,
 INC., and SAMSUNG ELECTRONICS CO.,
 LTD.,

                            Defendants.
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 2 of 67 PageID: 2




                                                    TABLE OF CONTENTS

                                                                                                                                            Page

I.        INTRODUCTION ...............................................................................................................1

II.       PARTIES .............................................................................................................................4

          A.         Plaintiffs ...................................................................................................................4

                     1.         Michael Stewart (Alabama) .........................................................................4

                     2.         Brian Roeder (California) ............................................................................5

                     3.         Lorenzo Hamilton (Florida) .........................................................................5

                     4.         Ben Rehkember (Illinois) .............................................................................5

                     5.         Ann Brumback (Iowa) .................................................................................6

                     6.         Amanda McAvoy (Massachusetts) ..............................................................6

                     7.         Karen Ryder (South Carolina) .....................................................................6

          B.         Defendants ...............................................................................................................7

                     1.         Samsung Electronics America, Inc. .............................................................7

                     2.         Samsung Electronics Co., Ltd. .....................................................................7

III.      JURISDICTION AND VENUE ..........................................................................................7

IV.       FACTUAL ALLEGATIONS COMMON TO ALL COUNTS ...........................................8

          A.         Samsung Mobile Devices ........................................................................................8

          B.         Samsung’s Performance Representations ..............................................................10

          C.         Samsung’s GOS App Throttling ............................................................................16

V.        CLASS ACTION ALLEGATIONS ..................................................................................19

VI.       CAUSES OF ACTION ......................................................................................................24

          A.         Claims Brought on Behalf of the Nationwide Class. .............................................24

COUNT I FRAUD ........................................................................................................................24




                                                                      -i-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 3 of 67 PageID: 3




COUNT II FRAUD BY CONCEALMENT (COMMON LAW) (ALLEGED BY
    ALL PLAINTIFFS ON BEHALF OF THE NATIONWIDE CLASS OR,
    ALTERNATIVELY, THE STATE SUBCLASSES) ........................................................28

COUNT III BREACH OF THE DUTY OF GOOD FAITH AND FAIR
    DEALING (ALLEGED BY ALL PLAINTIFFS ON BEHALF OF THE
    NATIONWIDE CLASS OR, ALTERNATIVELY, THE STATE
    SUBCLASSES) .................................................................................................................31

COUNT IV UNJUST ENRICHMENT / QUASI-CONTRACT ..................................................32

          B.        Claims Brought on Behalf of the Alabama Subclass .............................................33

COUNT V VIOLATIONS OF THE ALABAMA DECEPTIVE TRADE
    PRACTICES ACT (ALA. CODE §§ 8-19-1, ET SEQ.)....................................................33

          C.        Claims Brought on Behalf of the California Subclass ...........................................37

COUNT VI VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION
    LAW (CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.) ................................................37

COUNT VII VIOLATIONS OF THE CALIFORNIA CONSUMER LEGAL
    REMEDIES ACT (CAL. CIV. CODE §§ 1750, ET SEQ.) ...............................................40

COUNT VIII VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING
    LAW (CAL. BUS. & PROF. CODE §§ 17500, ET SEQ.) ................................................44

          D.        Claims Brought on Behalf of the Florida Subclass ................................................46

COUNT IX VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR
    TRADE PRACTICES ACT (FLA. STAT. § 501.201, ET SEQ.) .....................................46

          E.        Claims Brought on Behalf of the Illinois Subclass ................................................49

COUNT X VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
    DECEPTIVE BUSINESS PRACTICES ACT (815 ILCS 505/1, ET SEQ.) .....................49

          F.        Claims Brought on Behalf of the Iowa Subclass ...................................................53

COUNT XI VIOLATION OF IOWA PRIVATE RIGHT OF ACTION FOR
    CONSUMER FRAUDS ACT IOWA CODE § 714H.1, ET SEQ. ....................................53

          G.        Claims Brought on Behalf of the Massachusetts Subclass ....................................55

COUNT XII VIOLATION OF THE MASSACHUSETTS CONSUMER
    PROTECTION LAW MASS. GEN. LAWS, CH. 93A (PLAINTIFF
    INDIVIDUALLY AND ON BEHALF OF THE MASSACHUSETTS
    SUBCLASS) ......................................................................................................................55




                                                                - ii -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 4 of 67 PageID: 4




          H.        Claims Brought on Behalf of the South Carolina Subclass ...................................58

COUNT XIII VIOLATIONS OF THE SOUTH CAROLINA UNFAIR TRADE
    PRACTICES ACT (S.C. CODE ANN. §§ 39-5-10, ET SEQ.) .........................................58

PRAYER FOR RELIEF ................................................................................................................61

DEMAND FOR JURY TRIAL .....................................................................................................62




                                                              - iii -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 5 of 67 PageID: 5




          Michael Stewart, Brian Roeder, Lorenzo Hamilton, Ben Rehkember, Ann Brumback,

 Amanda McAvoy, and Karen Ryder (“Plaintiffs”) bring this class action suit individually and on

 behalf of all others similarly situated against Defendants Samsung Electronics America, Inc., and

 Samsung Electronics Co., Ltd. (referred to herein collectively as “Defendants” or “Samsung”) for

 the design, manufacturing, marketing, and sale of various smartphone models containing the

 Game Optimizing Service (“GOS”) app, including, but not limited to, models and versions of the

 Galaxy S10, S20, S21, and S22, and versions designated as “FE,” “Ultra,” “Plus,” or the like

 (collectively, “Devices”). Plaintiffs make the following allegations pursuant to the investigation

 of their counsel and based upon information and belief, except as to the allegations specifically

 pertaining to themselves which are based on personal knowledge.

                                   I.      INTRODUCTION

         1.    A consumer product company that markets its products based on third-party

benchmark testing comparing its products to its competitors’ products must produce products that

perform as well in the real world as they do in the benchmark tests. But Samsung apparently

believes that rule does not apply to it. Knowing that its devices cannot perform as well as its

competitors while maintaining safe operating temperatures and adequate battery life, it cheats the

tests. It puts cheating software on its devices that allow benchmark testing applications to run at

high speed, while it throttles the speed and performance of every day applications in order to

maintain safe operating temperatures and preserve battery life. As a result, these devices

fraudulently test at high performance rates that consumers will never experience with real-world

applications. This lawsuit aims to put a stop to Samsung’s benchmark fraud and level the playing

field.

         2.    This is a class action suit against Defendants for the design, manufacturing,

marketing, and sale of Samsung Devices which engage in “benchmark cheating.” Plaintiffs allege



                                               -1-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 6 of 67 PageID: 6




that the Samsung Devices at issue contain a mobile application (“app”)1 called Game Optimizing

Service (“GOS”) that artificially and selectively limits—or “throttles”—access to the Devices’

processing power and other resources, purportedly with the intention of preventing overheating

and extending battery life of the Devices. Specifically, Samsung has programmed these Devices

to run at faster than normal speeds (or higher speeds than apps operating in the real world) when

they detect certain “benchmarking” apps—i.e., performance-measuring tools used by reviewers

and consumers to test and compare the speed and performance of smartphones and tablets.

       3.      Samsung’s deception is quite simple: to remain competitive, Samsung promises to

deliver both better, faster performance and better, longer battery life at safe operating temperatures.

However, knowing it cannot deliver as promised, Samsung intentionally programmed its Devices

to cheat benchmark apps, and to create false perceptions regarding the speed, performance, and

battery life of these Devices. Samsung’s throttling manipulation was intended to address a defect

in the design of its Devices: the Devices’ batteries lacked the capacity and power to keep up with

the demands placed upon them by Samsung’s hardware and software (hereafter, “the Defect”).

       4.      Samsung knew that publications and review sites regularly use benchmarking apps

to review and evaluate new devices and to compare those devices to competing or predecessor

devices.

       5.      Samsung also knew that if it artificially boosted the performance of its devices

when running benchmarking apps, reviewers and the public would falsely believe that the Devices

were similarly as fast in real-world situations. In reality, the processors in the Devices run at a




   1
     An “app” is a computer program or software application designed to run on a mobile device
such as a phone, tablet, or watch.



                                                 -2-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 7 of 67 PageID: 7




lower speed when the devices are performing real-world tasks instead of running benchmarking

apps—otherwise, the Device’s battery life would be diminished and/or the device might overheat.

          6.     Samsung intentionally cheated on benchmarking apps to create a false perception

regarding the speed and performance of the Devices, to thereby increase the demand for its new

devices, and to support a high price-point for these devices—all to the detriment of the buying

public.

          7.     Samsung engaged in secretly “throttling” the performance of apps on its

smartphones. That is, Samsung has programmed the Devices to limit access to their fastest

processing cores for numerous popular applications, causing slowdown in typical workloads such

as web browsing and gaming. In turn, Samsung was able to advertise its Devices as achieving

significant speeds and high-level performance, while maintaining ample battery life. However, the

advertised benchmark results are useless for the user’s experience, as applications on Samsung’s

smartphones are secretly throttled by Defendants.

          8.     Consequently, based on Samsung’s representations, consumers have been led to

believe that the Devices are much faster and more powerful than they perform. This means that,

in light of the Defect, consumers are not getting the full advertised performance of their phones,

and are caused to purchase phones they otherwise would not have purchased and/or are paying a

significant price premium for characteristics—i.e., speed, power, and performance—that they are

not receiving.

          9.     Samsung is well aware that publications and review sites regularly use

benchmarking apps to review and evaluate new devices and to compare competing or predecessor

devices, and has a history of seeking to circumvent benchmarking tests. Indeed, in February 2014,

a class action lawsuit was initiated against Samsung Electronics America, Inc. (as well as since-




                                               -3-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 8 of 67 PageID: 8




absorbed affiliate Samsung Telecommunications America, LLC) alleging a form of consumer

deception inverse to the instant allegations—that Samsung programmed its Devices to artificially

increase speed when they detect certain benchmarking apps. Furthermore, the lawsuit alleged that

Samsung intentionally cheated on benchmarking apps to create a false perception regarding the

speed and performance of its Devices, to thereby increase the demand and support a high price-

point for its Devices.2 In or about September 2020, a settlement was reached to resolve the claims

that Samsung engaged in misleading smartphone speed advertisements.

         10.    Although Samsung has changed its method, its efforts to falsely portray the

attributes of its Devices by way of benchmark manipulation have continued.

         11.    Samsung’s actions and omissions violate well-established legal and statutory duties

it owed to Plaintiffs and all other similarly situated United States consumers.

         12.    Plaintiffs bring this class action on behalf of themselves and all similarly situated

consumers for actual and statutory damages, as well as punitive damages and equitable relief to

fully redress the vast harm Samsung’s wrongful acts have unleashed on United States consumers.

                                         II.     PARTIES

A.       Plaintiffs

         1.     Michael Stewart (Alabama)

         13.    Plaintiff Michael Stewart (“Plaintiff Stewart”) is a domiciled Alabama citizen,

residing in Ozark, Alabama.

         14.    In or about May 2020, Plaintiff Stewart purchased a new Samsung Galaxy S20.




     2
      Norcia v. Samsung Telecommunications America, LLC and Samsung Electronics America,
Inc., No. 3:14-cv-00582 (N.D. Cal.).



                                                -4-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 9 of 67 PageID: 9




        15.     Plaintiff Stewart reviewed and relied upon marketing materials and advertisements

concerning the Samsung Galaxy S20 prior to purchasing it. None of the representations received

by Plaintiff Stewart contained any disclosure relating to the GOS app.

        2.      Brian Roeder (California)

        16.     Plaintiff Brian Roeder (“Plaintiff Roeder”) is a domiciled California citizen,

residing in Santa Barbara, California.

        17.     In or about January 2022, Plaintiff Roeder purchased a new Samsung Galaxy S21

FE.

        18.     Plaintiff Roeder reviewed and relied upon marketing materials and advertisements

concerning the Samsung Galaxy S21 FE prior to purchasing it. None of the representations

received by Plaintiff Roeder contained any disclosure relating to the GOS app.

        3.      Lorenzo Hamilton (Florida)

        19.     Plaintiff Lorenzo Hamilton (“Plaintiff Hamilton”) is a domiciled Florida citizen,

residing in Ft. Lauderdale, Florida.

        20.     In or about December 2020, Plaintiff Hamilton purchased a new Samsung Galaxy

S20+.

        21.     Plaintiff Hamilton reviewed and relied upon marketing materials and

advertisements concerning the Samsung Galaxy S20+ prior to purchasing it. None of the

representations received by Plaintiff Hamilton contained any disclosure relating to the GOS app.

        4.      Ben Rehkember (Illinois)

        22.     Plaintiff Ben Rehkember (“Plaintiff Rehkember”) is a domiciled Illinois citizen,

residing in Breese, Illinois.

        23.     In or about January 2020, Plaintiff Rehkember purchased a new Samsung Galaxy

S20+.



                                               -5-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 10 of 67 PageID: 10




        24.    Plaintiff Rehkember reviewed and relied upon marketing materials and

advertisements concerning the Samsung Galaxy S20+ prior to purchasing it. None of the

representations received by Plaintiff Rehkember contained any disclosure relating to the GOS app.

        5.     Ann Brumback (Iowa)

        25.    Plaintiff Ann Brumback (“Plaintiff Brumback”) is a domiciled Iowa citizen,

residing in Muscatine, Iowa.

        26.    In or about March 2021, Plaintiff Brumback purchased a new Samsung Galaxy

S20+.

        27.    Plaintiff Brumback reviewed and relied upon marketing materials and

advertisements concerning the Samsung Galaxy S20+ prior to purchasing it. None of the

representations received by Plaintiff Brumback contained any disclosure relating to the GOS app.

        6.     Amanda McAvoy (Massachusetts)

        28.    Plaintiff Amanda McAvoy (“Plaintiff McAvoy”) is a domiciled Massachusetts

citizen, residing in East Taunton, Massachusetts.

        29.    In or about November 2019, Plaintiff McAvoy purchased a new Samsung Galaxy

S10+.

        30.    Plaintiff McAvoy reviewed and relied upon marketing materials and

advertisements concerning the Samsung Galaxy S10+ prior to purchasing it. None of the

representations received by Plaintiff McAvoy contained any disclosure relating to the GOS app.

        7.     Karen Ryder (South Carolina)

        31.    Plaintiff Karen Ryder (“Plaintiff Ryder”) is a domiciled South Carolina citizen,

residing in Aiken, South Carolina.

        32.    On April 13, 2020, Plaintiff Ryder purchased a new Samsung Galaxy S20.




                                              -6-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 11 of 67 PageID: 11




       33.     Plaintiff Ryder reviewed and relied upon marketing materials and advertisements

concerning the Samsung Galaxy S20 prior to purchasing it. None of the representations received

by Plaintiff Ryder contained any disclosure relating to the GOS app.

B.     Defendants

       1.      Samsung Electronics America, Inc.

       34.     Defendant Samsung Electronics America, Inc., the designer, manufacturer, and

vendor of Samsung smartphones, is a corporation existing under the law of the State of New York,

headquartered at 85 Challenger Road, Ridgefield Park, New Jersey 07660, and a subsidiary of

Samsung Electronics Co., Ltd. Defendant Samsung Electronics America, Inc. regularly conducts

business in this District and throughout the United States.

       2.      Samsung Electronics Co., Ltd.

       35.     Defendant Samsung Electronics Co., Ltd., is a corporation existing under the laws

of the Republic of Korea, headquartered at 129 Samsung-ro, Yeongtong-gu Suwon, Gyeonggi,

16677, Republic of Korea, and is the parent company to Samsung Electronics America, Inc.

Defendant Samsung Electronics Co., Ltd., regularly conducts business in this District and

throughout the United States.

       36.     Defendants Samsung Electronics America, Inc., and Samsung Electronics Co.,

Ltd., are collectively referred to herein as “Defendants” or “Samsung.”

                            III.    JURISDICTION AND VENUE

       37.     This Court has personal and subject matter jurisdiction over all causes of action

asserted herein.

       38.     The Court has jurisdiction over this action pursuant to the Class Action Fairness

Act (“CAFA”), 28 U.S.C. § 1332(d), because at least one class member is of diverse citizenship




                                               -7-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 12 of 67 PageID: 12




from Defendants, there are more than 100 class members, and the aggregate amount in controversy

exceeds $5,000,000, exclusive of interests and costs.

        39.     This Court has personal jurisdiction over Samsung by virtue of Samsung being

headquartered in this District, Samsung transacting and doing business in this District, and because

Samsung intentionally availed itself of the laws of New Jersey by transacting a substantial amount

of business throughout the State and this District. Samsung has engaged in statutory violations and

common law tortious conduct in New Jersey and in this District.

        40.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to the claims occurred in this District. Samsung is headquartered

in this District and transacts affairs in this District.

              IV.     FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

A.      Samsung Mobile Devices

        41.     Samsung Telecommunications and Samsung Electronics are part of the

multinational Samsung Group conglomerate, which is headquartered in Seoul, South Korea. The

Samsung Group has subsidiaries across widely varied industries, including shipbuilding,

construction, insurance, and aerospace as well as consumer electronics. Samsung Electronics Co.

Ltd., the parent of Defendant Samsung Electronics, consists of the following business divisions

that operate independently. The Information Technology & Mobile Communications Division,

which manufactures and sells smart mobile devices, network systems, and computers and the

Device Solutions Division, predominantly manufactures and sells products such as DRAM and

NAND products, mobile application processors, and camera sensor chips.




                                                   -8-
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 13 of 67 PageID: 13




         42.    According to statistics retrieved from Statista.com,3 the smartphone market in the

United States is one of the world’s largest, with more than 290 million smartphone users. In line

with the overall growth of the smartphone market worldwide, the smartphone penetration rate in

the United States has continuously risen over the past several years, reaching 85 percent in

February 2021. Apple and Samsung are the market leaders in the United States smartphone market

and, as of 2021, Apple was the smartphone sales share leader. Samsung smartphones, which

operate on the Google Android operating system, are second with 27.6% of U.S. smartphone

subscribers.

         43.    The following table depicts Samsung Devices impacted by GOS benchmark

manipulation, along with respective announcement and release dates, and approximate retail price

(prices fluctuate based on various circumstances, such as where the consumer purchases the device

directly from Samsung or from a third party, where sold by a wireless services provider in

conjunction with a service contract, etc.):

   Samsung Device         Date Announced       U.S. Release Date            Approx. Retail Price
  Galaxy S10               February 20, 2019         March 8, 2019                       $799.00
  Galaxy S10+              February 20, 2019         March 8, 2019                       $899.00
  Galaxy S10e              February 20, 2019         March 8, 2019                       $649.00
  Galaxy S20               February 11, 2020         March 6, 2020                       $999.00
  Galaxy S20+              February 11, 2020         March 6, 2020                     $1,199.99
  Galaxy S20 Ultra         February 11, 2020         March 6, 2020                     $1,399.99
  Galaxy S21                January 14, 2021     January 29, 2021                        $799.00
  Galaxy S21+               January 14, 2021     January 29, 2021                        $999.00
  Galaxy S21 Ultra          January 14, 2021     January 29, 2021                      $1,199.99
  Galaxy S21 FE              January 3, 2022     January 11, 2022                        $699.99
  Galaxy S22                February 9, 2022    February 25, 2022                        $799.00
  Galaxy S22+               February 9, 2022    February 25, 2022                        $999.00
  Galaxy S22 Ultra          February 9, 2022    February 25, 2022                      $1,199.00

   3
       https://www.statista.com/topics/2711/us-smartphone-market/#dossierKeyfigures.



                                               -9-
 Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 14 of 67 PageID: 14




     The above list of impacted Devices is not exhaustive and will be further developed upon discovery.

            44.     The scope of the GOS app presence—including whether the app was pre-installed

     to the device, available for voluntary download, or a forced update to the Device, and whether the

     app is removable or non-removable—is believed to vary based on the generation of the Samsung

     Device. Upon information and belief, GOS was pre-installed on some Galaxy S21 and older-model

     Devices, and was pre-installed and is non-removable on the recently released Galaxy S22.

B.       Samsung’s Performance Representations

            45.     The market for smartphones and tablets is currently dominated by devices running

     on the Android operating system (“OS”) developed by Google, and Samsung is one of several

     manufacturers that make and market devices running on the Android OS.

            46.     The OS of a smartphone or tablet largely dictates the experience for the user of the

     device. Consequently, because the Android OS is used by multiple device manufacturers (unlike

     Apple’s proprietary iOS, for example), Samsung cannot simply rely on the OS as a point of

     differentiation to drive sales. Instead, in order to gain and keep market share and revenue, Samsung

     must differentiate its Android OS devices from all the other Android OS devices in the

     marketplace.

            47.     Samsung attempted to accomplish this through a scheme designed to mislead

     reviewers and the public about the speed, performance, and battery life of its Devices.

            48.     Samsung is well aware that, in order to remain competitive with competitors such

     as Apple, its Devices must get increasingly faster and more powerful, while maintaining adequate

     battery life. Samsung is also well aware that benchmark testing is the means by which the speed

     of its Devices are measured and compared to Apple’s iPhone as well as other Android

     smartphones.




                                                    - 10 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 15 of 67 PageID: 15




       49.     “Benchmark” apps are programs or applications for smartphones and tablets that

run a set of standardized tests and trials in order to assess device performance. By design, running

the same benchmark app on different devices allows one to assess the relative performance of the

different devices—the device that completes the tests and trials more quickly receives a higher

score from the benchmarking app than the slower device. Popular benchmark apps for Android

OS mobile devices include Geekbench, 3DMark, PCMark, Quadrant, Antutu, CPDT, Linpack,

Androbench, and GFXBench. When new mobile devices are released, reviewers commonly use

benchmark apps to compare the devices both to their predecessor devices and to the competition.

       50.     Samsung’s Devices are commonly perceived as being vastly outperformed by

Apple in benchmark testing. Consequently, through benchmark manipulation, and the false

representations of performance derived therefrom, Samsung caused false and misleading

information to proliferate.

       51.     By artificially manipulating the performance of the Devices on benchmark tests,

Samsung has falsely represented the performance of its phones relative to those of its competitors.

Samsung has taken these actions knowing that the benchmarking manipulations would result in

false information being communicated to consumers, and that this false information would

influence their buying decisions.

       52.     Samsung intentionally misled the public by misrepresenting the performance

capability of its Devices and artificially boosting performance during benchmark testing. Samsung

knew that publications and review sites regularly use benchmarking apps to review and evaluate

new devices and to compare competing devices. Samsung also knew that if it artificially boosted

the performance of its devices when running benchmarking apps, reviewers and the public would

falsely believe that the Devices were comparatively faster than competing devices in real-world




                                               - 11 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 16 of 67 PageID: 16




situations. In reality, the processors run at a lower speed and the artificial performance boost

disappears when the devices are performing real-world tasks instead of running benchmarking

apps.

          53.   Samsung made false representations directly to consumers in promising to deliver

both better performance and better, longer battery life—Samsung knew it could not deliver both

to consumers, so it chose to sacrifice (without disclosing to those consumers) performance in the

form of its throttling manipulation.

          54.   Moreover, in manipulating the benchmark performance of the Devices, Samsung

effectively made false representations to persons who ran benchmarking apps on the Devices, and

it did so with the knowledge and/or intent that such false representations would be passed on to

consumers and that it would influence their purchase decisions. The false statements that Samsung

made through benchmark manipulations were passed on to the consumers through reviews

published prior to the launch of the Devices in the United States.

          55.   Notwithstanding, Samsung has not kept pace with the performance output of the

iPhone. For example, according to a January 18, 2022 review published by Tom’s Guide, a

publication that provides technology product reviews and picks, and “help[s] you decide what tech

to buy”:

                In our benchmark testing, though, the S21 can't match the iPhone
                12. For example, Apple's A14 Bionic in the iPhone 12 scored an
                impressive multicore score of 3,859 in Geekbench 5. The S21,
                meanwhile, topped out at 3,302. In our Adobe Premiere Rush test,
                where a 4K video is transcoded to 1080p, the Galaxy S21 completed
                the test in 1 minute and 3 seconds. The iPhone did the same task in
                a blistering 26 seconds.4




   4
        https://www.tomsguide.com/news/samsung-galaxy-s21-vs-iphone-12-which-phone-wins.



                                              - 12 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 17 of 67 PageID: 17




       56.     As depicted below, Benchmark app Geekbench performed a comparison between

the Samsung Galaxy S21 Ultra 5G and the iPhone 14,3. The benchmark comparison demonstrates

respective Single-Core Scores of 1065 and 1738 between the Samsung Device and the iPhone, a

difference of 61.3%, and respective Multi-Core Scores of 3186 and 4766, a difference of 66.8%.5




       57.     Knowing that consumers seek speed, power, and battery life in selecting a

smartphone, Samsung heavily targets these attributes in its marketing efforts.6 In Samsung’s

Official Introduction Films for the Galaxy S22 Ultra,7 it boasts “welcome to the epic standard of


   5
      The GeekBench scores have been split into Single and Multi-Core categories. The Single-
Core score is more relevant for games and applications that are lightly threaded, meaning they rely
on a single core to process many—but not all—instructions. Multi-Core scores are more relevant
for games and applications that are heavily threaded, meaning they distribute their instructions
between multiple cores.
    6
       As an example, per Samsung’s 2021 Half-Year Financial Report (available at:
https://images.samsung.com/is/content/samsung/assets/global/ir/docs/2021_Half_Year_Report.p
df), Samsung spent over $2 billion ($2,697,575 “in millions of Korean won,” divided by
approximate current exchange rate of $1.00 U.S. to 1,220 South Korean won) on advertising
during the first six months of 2020 alone. As part of its marketing efforts, Samsung signed
international music superstars “BTS” to promote its Galaxy products. BTS’ video advertisements
(e.g., https://www.youtube.com/watch?v=Pii224aV-jY) have generated millions of views on
YouTube.
    7
      https://www.youtube.com/watch?v=2Jdpwb_0F5w; https://www.youtube.com/watch?v=
VYLzOakff2g.



                                              - 13 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 18 of 67 PageID: 18




smartphones.” According to Samsung, the Device has “the fastest chip ever on Galaxy,” “a 4nm

processor, the fastest on Galaxy, with a 73% faster NPU,” “fuels a long-lasting battery that can go

beyond a day on a single 45W super-fast charge,” and “breaks the rules of what a smartphone can

do.”

       58.     Samsung touts its Galaxy S22 and S22+8 as having its “fastest processor ever.” Per

its website, Samsung claims “[w]hether you’re vlogging your day, gaming all night or simply

scrolling your feed, the 4nm processor makes for an incredibly smooth experience.” In regard to

the product’s battery, Samsung states, “Galaxy S22 is powered by a 3700mAh (typical) battery,

and Galaxy S22+ by a 4500mAh (typical) battery.30. Both intelligently adapt to how you use your

phone to make sure that it outlasts the day — and then some.”9

       59.     Samsung’s marketing efforts surrounding the Galaxy S22 product line created

much anticipation among consumers for the Devices’ speed, power, and long-lasting battery. As

examples:

                     Per an article on PhoneArena.com,10 “[t]he Galaxy S22 Ultra is the
                      latest super-phone vying for the top spot on the shelves and in your
                      pocket. Lauded as the next best thing to come out of the Korean
                      peninsula since kimchi, this phone acts as the spiritual successor of
                      the Note lineup in everything but name, and as such, comes loaded
                      with Samsung's best tech to date.”

                     Per a review of the S22 Ultra published on SlashGear.com,11
                      “[u]nsurprisingly, Qualcomm's newest silicon and 12GB of memory
                      in my review handset proved to be every bit as fast as you'd hope.
                      No lag, no slowdown. That's good, obviously, but it also feels like
   8
      https://www.samsung.com/us/smartphones/galaxy-s22/.
   9
      The statement contains a footnote which states, “Based on average battery life under typical
usage conditions. Average expected performance based on typical use. Actual battery life depends
on factors such as network, features selected, frequency of calls, and voice, data, and other
application usage patterns.”
    10
       https://www.phonearena.com/reviews/Samsung-Galaxy-S22-Ultra-vs-Google-Pixel-6Pro_
id5279.
    11
          https://www.slashgear.com/772111/samsung-galaxy-s22-ultra-review-everything-is-not-
foreverybody/.



                                              - 14 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 19 of 67 PageID: 19




                      table-stakes at this point in the market.” Further, “[t]he 5,000 mAh
                      battery in the Galaxy S22 Ultra is a beast. Getting through a full day
                      is no problem at all, even with plenty of photography. For topping it
                      up, there's 45W wired and 15W wireless support, though — beyond
                      the USB-C cable in the box — Samsung leaves you to your own
                      devices to supply the charger itself.”

                     Per a review published on DigitalTrends.com,12 “[u]nquestionably,
                      the Samsung Galaxy S22 Ultra is the most multipurpose smartphone
                      you can buy today, and regardless of what you want to do with your
                      phone today, tomorrow, or in two years’ time, its astonishing ability
                      and varied feature set will have you covered. There’s real value in
                      buying a phone so capable, as although the initial outlay for the
                      Galaxy S22 Ultra is high, there won’t be any real need to replace it
                      for the foreseeable future.”

                     Per a review published on Engadget.com13, the “Galaxy S22 line is
                      one of the first phones to feature Qualcomm's new Snapdragon 8
                      Gen 1 chip, which when combined with 8GB of RAM and 128GB
                      of storage (or 256GB if you opt for the upgrade) results in a phone
                      that feels blisteringly fast. In my experience, there isn't really
                      anything you can throw at the S22 that makes it even sweat, aside
                      from stuff like hardcore multitasking when connected to an external
                      monitor via Samsung Dex (which is still very much a thing).”

        60.     Articles clearly show speed and performance are important, and data from

benchmarking apps are relied on by media and consumers. For example, MacRumors recently

released an online article titled, “iPhone 13 is Significantly Faster Than Samsung’s New Galaxy

S22 in Benchmarks.”14 The article refers to the benchmark testing conducted by PCMag, wherein

“the Galaxy S22 Ultra with Qualcomm's Snapdragon 8 Gen 1 processor achieved a multi-core

score of 3,433, compared to 4,647 for the iPhone 13 Pro Max with Apple's A15 Bionic chip. Based

on these results, the iPhone 13 Pro Max is around 35% faster than the Galaxy S22 Ultra for CPU

performance.”



   12
      https://www.digitaltrends.com/mobile/samsung-galaxy-s22-ultra-review/.
   13
      https://www.engadget.com/samsung-galaxy-s-22-review-sprucing-up-a-solid-foundation
151522033.html.
   14
      https://www.macrumors.com/2022/02/11/samsung-galaxy-s22-vs-iphone-13-benchmark/.



                                              - 15 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 20 of 67 PageID: 20




          61.   On February 11, 2022, PCMag released an online article titled, “Galaxy S22

Benchmarked: Apple Still Beats Samsung,”15 which states, “[w]hile the Samsung Galaxy S22 is

the most powerful Android phone we’ve seen so far, it benchmark results fall behind Apple’s

iPhone 13 Pro Max.” Interestingly, the article notes, “[w]hile running benchmarks, the phone

quickly became warm, and as soon as it became warm it returned much lower results. A Geekbench

result of 1,232 became 802 with a warm phone, and GFXBench result of 28fps became 19fps.”

C.        Samsung’s GOS App Throttling

          62.   Samsung installs the GOS app in its Galaxy line and other smartphone models prior

to delivering the Devices to consumers (“pre-installs”). To the extent that the GOS app is not pre-

installed to the Device, the app can be added to Samsung smartphones for free, via software update

or through the Galaxy store.16

          63.   Upon information and belief, the GOS app identifies and evaluates the name of the

app that is running and, based on the name of the application, determines whether to throttle down

the app’s performance. In the event that GOS identifies the app as a benchmarking app, such as

3DMark or Geekbench, it does not throttle the performance—of course, this is beneficial to

Samsung in that the benchmarking apps provide an exaggerated evaluation of the Devices’

performance. On the other hand, when the consumer attempts to use a non-benchmarking app, the

consumer does not receive the full expected performance.

          64.   Upon information and belief, users have performed various tests to identify the

scope of Samsung’s throttling manipulation—simply renaming the app from a benchmark app to

an app not recognized as a benchmark app results in a benchmark score of less than half of what



     15
     https://www.pcmag.com/news/galaxy-s22-benchmarked-apple-still-beats-samsung.
     16
     https://galaxystore.samsung.com/prepost/000004017258?appId=com.samsung.android.
game.gos&session_id=W_42c8ff54e9c6605545067f84dc314578.



                                              - 16 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 21 of 67 PageID: 21




it ran with the correct name. By way of example, on or about February 25, 2022, a YouTube user

posted a video depicting how Samsung subjects everyday apps to a limited, throttled performance

while benchmark apps are not subjected to throttling. In his test, the YouTube user modified the

package name of the “3DMark” benchmark app to “Genshin Impact,” one of the apps known to

be subject to throttling, and displayed for viewers as depicted in the screenshot below that the

renamed package achieved a drastically lower benchmark score and average frame rate.17




        65.   On or about March 2, 2022, Samsung’s benchmark manipulation scam was exposed

when Twitter user GaryeonHan and Korean netizens published a list containing 10,000 apps

apparently subjected to throttling by Samsung’s GOS app.18 The list of apps throttled by Samsung

includes prominent apps like YouTube, SnapChat, Instagram, Netflix, Disney+, Facebook,

Twitter, Amazon, Google Keep, TikTok, and Microsoft Office apps. Noticeably absent from the

list are benchmarking apps, including 3DMark, Geekbench, PCMark, GFXBench, Antutu, CPDT,


   17
      https://www.youtube.com/watch?v=Vtt2g3BlwM8.
   18
      https://www.androidauthority.com/samsung-gos-throttling-apps3125885/?utm_source=
feedly&utm_medium=webfeeds; https://twitter.com/GaryeonHan/status/1499009797035008002
?t=MEFGfeHOz85hCHrRibINTQ.&s=19; http://www.mediafire.com/file/4xj5szj0xsczjsv/GOS_
app_list.xlsx/file.



                                             - 17 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 22 of 67 PageID: 22




and Androbench. By not throttling benchmark apps, the benchmark apps are able to operate at full

performance, and Samsung is able to skew user expectations for its Devices’ real-world speed and

battery life.

             66.    As the result of Samsung’s benchmark manipulation, benchmark app Geekbench

now excludes several of Samsung’s Devices, including, but not limited to, Galaxy S20, Galaxy

S20+, Galaxy S20 Ultra, Galaxy S21, Galaxy S21+, Galaxy S21 Ultra, Galaxy S22, Galaxy S22+,

and Galaxy S22 Ultra. As set forth at GeekBench.com,19 “[t]he devices listed below [the

aforementioned Galaxy smartphones and many other Samsung products] are excluded from the

benchmark chart. These devices run Geekbench (and possibly other benchmarks) in an artificial

benchmark mode. Other applications do not run in this benchmark mode, which leads to

benchmark results that do not correspond to real-world performance.”

             67.    In response to the throttling controversy and user demand for more control and

transparency for throttling, Samsung issued an “apology” of sorts on or about March 4, 202220:

                    Our priority is to deliver the best mobile experience for consumers.
                    The Game Optimizing Service (GOS) has been designed to help
                    game apps achieve a great performance while managing device
                    temperature effectively. GOS does not manage the performance of
                    non-gaming apps. We value the feedback we receive about our
                    products and after careful consideration, we plan to roll out a
                    software update soon so users can control the performance while
                    running game apps.

Upon information and belief, Samsung also issued the following announcement:

                    We would like to inform you about the Galaxy S22 GOS. We are
                    continuously working to expand user options and provide optimal
                    performance by collecting opinions from customers. The Samsung
                    Galaxy S22 series’ GOS (Game Optimizing Service) is preloaded
                    with our app that optimizes CPU and GPU performance to prevent
                    excessive heat during long game play. In order to meet the needs of

       19
            https://browser.geekbench.com/android-benchmarks/.
       20
            https://www.engadget.com/samsung-performance-throttling-update-164530242.html?src=
rss.



                                                   - 18 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 23 of 67 PageID: 23




                various customers recently, we plan to implement a SW update that
                provides a performance priority option in the game booster lab
                within the game launcher app as soon as possible. We will continue
                to listen to consumers’ opinions and do our best for customer
                satisfaction and consumer protection. Thank you.

         68.    On or about March 9, 2022, in response to public outcry regarding the “benchmark

cheating” scandal, Samsung issued the following statement21:

                The Galaxy S22 series' GOS (Game Optimizing Service) is a built
                in app that optimizes CPU and GPU performance to prevent
                excessive heat during long game play. In order to meet the needs of
                various customers recently, we plan to implement a SW update that
                provides a performance priority option in the game booster lab in
                the game launcher app as soon as possible.

                            V.     CLASS ACTION ALLEGATIONS

         69.    Plaintiffs bring all claims as class claims under Rules 23(a) and (b)(3) of the Federal

Rules of Civil Procedure.

         70.    Plaintiffs bring their claims on their own behalf, and on behalf of the following

proposed classes of persons:

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app (the “National Class”);

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of Alabama (the
                       “Alabama Subclass”);

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of California (the
                       “California Subclass”);

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of Florida (the “Florida
                       Subclass”);




   21
        https://www.samsungsvc.co.kr/solution/689552.



                                                - 19 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 24 of 67 PageID: 24




                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of Illinois (the “Illinois
                       Subclass”);

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of Iowa (the “Iowa
                       Subclass”);

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of Massachusetts (the
                       “Massachusetts Subclass”); and

                      All persons or entities who purchased a Samsung Device
                       containing the GOS app in the State of South Carolina (the
                       “South Carolina Subclass”).

       71.     Plaintiffs reserve the right to modify or amend the definition of the proposed classes

before the Court determines whether certification is appropriate.

       72.     The National Class, the Alabama Subclass, the California Subclass, the Florida

Subclass, the Illinois Subclass, the Iowa Subclass, the Massachusetts Subclass, and the South

Carolina Subclass are referred to collectively as the “Classes.”

       73.     Excluded from the Classes are: the Defendants; any of Defendants’ corporate

affiliates; any of Defendants’ directors, officers, or employees; any person who timely elects to be

excluded from any of the Classes; any government entities; and any judge to whom this case is

assigned and his or her immediate family, law clerks, and court staff.

       74.     The claims for relief asserted herein satisfy the prerequisites for certification as a

class action pursuant to Federal Rule of Civil Procedure 23(b)(3):

               a.      There are questions of law or fact common to the Classes;

               b.      The claims or defenses of the representative parties are typical of the claims

                       or defenses of the Classes;

               c.      The representative parties will fairly and adequately protect the interests of

                       the Classes;



                                               - 20 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 25 of 67 PageID: 25




               d.         The questions of law or fact common to class members predominate over

                          any questions affecting only individual members; and

               e.         A class action is superior to other available methods for fairly and

                          efficiently adjudicating the controversy.

       75.     Numerosity. The Classes are so numerous that joinder of individual members

thereof is impracticable. Plaintiffs believe that there are millions of members throughout the

United States. The precise number and identities of class members are unknown to Plaintiffs, but

are known to Defendants or can be ascertained through discovery, using records of sales, warranty

records, and other information kept by Defendants or their agents.

       76.     Commonality. Common questions of law and fact exist as to all members of the

Classes and, as appropriate, the members of each Subclass. The questions of law and fact common

to the Classes include:

               i.         Whether Samsung’s advertising, marketing, product packaging and

                          benchmark manipulations were untrue, misleading, or reasonably likely to

                          deceive;

               ii.        Whether Samsung knew its conduct and statements were false or

                          misleading;

               iii.       Whether Samsung’s statements, conduct, and/or omissions were material;

               iv.        Whether Samsung’s conduct violated the state consumer protection statutes

                          cited herein;

               v.         Whether Samsung’s alleged conduct constitutes the use or employment of

                          an unconscionable commercial practice, deception, fraud, false pretense,




                                                  - 21 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 26 of 67 PageID: 26




                       false promise, and misrepresentation within the meaning of the applicable

                       state consumer fraud statutes;

               vi.     Whether Samsung has been unjustly enriched under the applicable state

                       laws;

               vii.    Whether Samsung has violated the implied warranty of merchantability

                       under the applicable state laws;

               viii.   Whether Plaintiffs and class members are entitled to damages, restitution,

                       disgorgement, equitable relief, or other relief; and

               ix.     The amount and nature of such relief to be awarded to Plaintiffs and class

                       members, including the appropriate class-wide measure of damages for the

                       Classes.

       77.     The determination of the truth or falsity of these and other questions will resolve

an issue that is central to the validity of each one of the claims (depending on the cause of action

asserted) in one stroke. These and other questions will need to be answered in connection with

every class member’s claim (depending on the cause of action asserted). These questions will

generate common answers apt to drive the resolution of the litigation.

       78.     Typicality. Plaintiffs’ claims are typical of the claims of the absent members of the

Classes (and their respective Subclasses) because they arise from the same course of conduct by

Defendants and are based on the same legal theories as do the claims of all other members of each

of their respective Class or Subclass. Moreover, Plaintiffs seek the same forms of relief for

themselves as they do on behalf of absent class members.

       79.     Adequacy. Plaintiffs will fairly and adequately protect the interests of the absent

members of the Classes. Because their claims are typical of the respective Class or Subclass that




                                               - 22 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 27 of 67 PageID: 27




they seek to represent, Plaintiffs have every incentive to pursue those claims vigorously. Plaintiffs’

interests are coincident with, and not antagonistic to, those of the absent members of the Classes.

Moreover, Plaintiffs are represented by counsel competent and experienced in the prosecution of

class action and, in particular, consumer protection litigation.

       80.     Predominance. Certification of the Classes under Rule 23(b)(3) of the Federal Rules

of Civil Procedure is appropriate because the questions of law and fact common to the members

of the Classes predominate over any questions affecting only individual members, including legal

and factual issues relating to liability and damages.

       81.     Superiority. In addition, class action treatment under Rule 23(b)(3) is a superior

method for the fair and efficient adjudication of this controversy. Among other things, such

treatment will permit a large number of similarly situated persons to prosecute their common

claims in a single forum simultaneously, efficiently and without the unnecessary duplication of

evidence, effort and expense if numerous individual actions. Furthermore, although the damages

suffered by members of each of the proposed Classes are substantial in the aggregate, the damages

to any individual member of the proposed Classes would be insufficient to justify individually

controlling the prosecution of separate actions against Samsung. The benefits of proceeding on a

class-wide basis, including providing injured persons or entities with a method for obtaining

redress for claims that might not be practicable to pursue individually, substantially outweigh any

potential difficulties in managing this class action.




                                                - 23 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 28 of 67 PageID: 28




                                  VI.    CAUSES OF ACTION

A.        Claims Brought on Behalf of the Nationwide Class.

                                             COUNT I

                                              FRAUD

          82.   Plaintiffs reallege and incorporate the preceding paragraphs as if fully set forth

herein.

          83.   Plaintiffs bring this cause of action for themselves and on behalf of the Nationwide

Classes under the common law of fraud, which is materially uniform in all states.

          84.   As described above, Samsung defrauded Plaintiffs and Class Members by

knowingly and intentionally misrepresenting to them and to the public at large that its Devices had

superior design, security, and quality, with “unmatched” performance.

          85.   As described above, Samsung carried out its fraudulent and deceptive conduct

through affirmative misrepresentations, omissions, suppressions, and concealments of material

fact to Plaintiffs and the Class Members, as well as to the public at large.

          86.   These representations were false, as detailed above. Samsung knew that the

representations were false and acted with knowledge of their falsity intentionally to induce

Plaintiffs and Class members to buy Samsung’s Devices, as well as avoid Samsung’s warranty

obligations, and achieve windfall profits at the expense of Plaintiffs and all Class Members.

          87.   Plaintiffs and Class Members had no reasonable means of knowing that Samsung’s

representations were false and misleading.

          88.   Samsung’s actions constitute actual fraud and deceit because Samsung did the

following with the intent to deceive Plaintiffs and Class Member and to induce them to enter into

purchasing Samsung’s Devices:




                                               - 24 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 29 of 67 PageID: 29




              a.      Suggesting that the Devices were far superior to anything on the market

                      with unmatched performance, security, and quality, even though it knew

                      this to be not true; and

              b.      Positively asserting that the Devices were far superior to anything on the

                      market with unmatched performance and quality, in a manner not warranted

                      by the information available to Defendants.

       89.    Samsung’s misrepresentations were material in that they would affect a reasonable

consumer’s decision to purchase Samsung’s Devices. Plaintiffs and Class Members paid a

premium for Samsung Devices precisely because they purportedly offered superior quality and

performance than anything on the market. Whether Samsung’s Devices were defective would have

been an important factor in Plaintiffs’ and the Class Members’ decisions to purchase or obtain

Samsung Devices.

       90.    Samsung’s intentionally deceptive conduct induced Plaintiffs and Class Members

to purchase Samsung’s Devices and resulted in harm and damage to Plaintiffs and Class Members.

       91.    Plaintiffs believed and relied to their detriment upon Samsung’s affirmative

misrepresentations. Class members are presumed to have believed and relied upon Samsung’s

misrepresentations because those facts are material to a reasonable consumer’s decision to

purchase Samsung Devices.

       92.    Samsung also fraudulently concealed and suppressed material facts regarding the

Devices. Well prior to disclosure to the public, Samsung intentionally manipulated its Devices’

benchmark performance, and continued and continues to promote and tout its products as the most

secure devices in the world. It knew when it marketed and sold the Devices that the devices were

not superior in quality or performance as Samsung claimed. Samsung failed to disclose these facts




                                                 - 25 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 30 of 67 PageID: 30




to consumers at the time they marketed and sold the Devices. Samsung knowingly and

intentionally engaged in this concealment in order to boost sales and revenues, maintain its

competitive edge in the industry, and obtain windfall profits.

       93.     Plaintiffs and class members had no reasonable means of knowing that Samsung’s

representations were false and misleading, or that Samsung had omitted to disclose material details

relating to the Devices. Plaintiffs and Class Members did not and could not reasonably discover

Samsung’s concealment on their own.

       94.     Samsung had a duty to disclose, rather than conceal and suppress, the full scope

and extent of the Devices’ performance because:

               a.     Samsung had exclusive or far superior knowledge of its throttling

                      manipulation through the GOS app, and concealment thereof;

               b.     The details regarding its throttling manipulation through the GOS app and

                      concealment thereof were known and/or accessible only to Defendant;

               c.     Samsung knew Plaintiffs and Class Members did not know about

                      Samsung’s throttling manipulation through the GOS app and concealment

                      thereof and that the untrained observer would not be able to detect the

                      inherent defects in the Devices; and

               d.     Samsung made representations and assurances about the qualities of the

                      Devices, including statements about the Devices’ superior performance and

                      abilities that were misleading, deceptive, and incomplete without the

                      disclosure of the fact that it engaged in throttling manipulation through the

                      GOS app.




                                               - 26 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 31 of 67 PageID: 31




       95.     These omitted and concealed facts were material because a reasonable consumer

would rely on them in deciding to purchase Samsung Devices, and because they substantially

reduced the value of the Devices that Plaintiffs and Class Members purchased. Whether Samsung’s

Devices were defective would have been an important factor in Plaintiffs’ and the Class Members’

decisions to purchase or obtain the Devices.

       96.     Plaintiffs and the Class Members trusted Samsung not to sell them products that

were defective.

       97.     Samsung intentionally and actively concealed and suppressed these material facts

to falsely assure consumers that its Devices were of superior quality and performance level, as

represented by Samsung and as reasonably expected by consumers.

       98.     Plaintiffs and the class members were unaware of these omitted material facts and

would have paid less for the Devices, or would not have purchased them at all, if they had known

of the concealed and suppressed facts. Plaintiffs and the Class Members did not receive the benefit

of their bargain due to Samsung’s fraudulent concealment.

       99.     Plaintiffs and Class Members relied to their detriment upon Samsung’s reputations,

fraudulent misrepresentations, and material omissions in deciding to purchase the Devices.

       100.    As a direct and proximate result of Samsung’s deceit and fraudulent concealment,

including its intentional suppression of the true facts, Plaintiffs and the Classes suffered injury.

They purchased Devices of inferior quality and performance, which had a diminished value by

reason of Samsung’s concealment of, and failure to disclose, the defects.

       101.    Plaintiffs and the Classes sustained damages as a direct and proximate result of

Samsung’s deceit and fraudulent concealment in an amount to be proven at trial.




                                               - 27 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 32 of 67 PageID: 32




       102.    Samsung’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ and Class Members’ rights, with the aim of

enriching Defendant, justifying an award of punitive damages in an amount sufficient to deter such

wrongful conduct in the future.

                                           COUNT II

              FRAUD BY CONCEALMENT (COMMON LAW)
 (ALLEGED BY ALL PLAINTIFFS ON BEHALF OF THE NATIONWIDE CLASS OR,
              ALTERNATIVELY, THE STATE SUBCLASSES)

       103.    Plaintiffs and the Class reallege and incorporate by reference all paragraphs as

though fully set forth herein.

       104.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class against

all defendants. Alternatively, Plaintiffs bring this claim on behalf of themselves and the State

Subclasses against all defendants.

       105.    As alleged herein, Samsung intentionally concealed, suppressed, and omitted the

material fact of the Defect, specifically that the Samsung Devices had the GOS app installed that

secretly limited the performance of the Samsung Devices when running everyday apps, while

maximizing performance for known benchmark testing apps.

       106.    Defendants also misrepresented the speed, performance, battery life, and

functionality of the Samsung Devices. These representations were false because, unbeknownst to

Class members, the Samsung Devices contained the Defect rendering them less powerful and less

functional than reported in benchmark tests.

       107.    Samsung’s misrepresentations and omissions about the Defect in the Samsung

Devices were material because the misrepresentations and omissions alleged herein induced

Plaintiffs and the Class members to purchase their Samsung Devices when, had they known about

the Defect, they would not have purchased their Devices or they would have paid less for them.



                                               - 28 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 33 of 67 PageID: 33




       108.    Defendants knew about the Engine Defect before the Samsung Devices were sold

due to intentional creation and installation of the GOS software, whose very purpose was to create

among the technology press and consumer the false impression that the Samsung Devices were

fast, powerful and had long battery life, when in truth and fact, the Devices operated at much lower

performance when running every day applications.

       109.    Defendants had reason to expect that Plaintiffs and Class members would purchase

or lease the Samsung Devices, or spend more money to acquire them, if the Devices operated at

high speed and had long battery life. Likewise, Defendants knew that Plaintiffs and Class members

would not purchase or lease, or at least pay as much, for the Samsung Devices if they knew they

contained the Defect and the deceptive GOS app.

       110.    Reasonable consumers, such as Plaintiffs and the Class, would not know about the

Defect in the Samsung Devices and that the Devices contained the GOS app that was specifically

designed to cheat on the benchmark tests. Plaintiffs and the Class members did not know these

facts that were concealed from them by Defendants. Moreover, as ordinary consumers, Plaintiff

and the Class members did not, and could not, unravel the deception on their own.

       111.    Defendants concealed the truth about the Defect, intending for Plaintiffs and the

Class to rely on their misrepresentations and omissions. Plaintiffs and the Class members relied

on Samsung’s misrepresentations and omissions in choosing to purchase or lease their Samsung

Devices, believing them to be fast and powerful, with long running batteries that operated at safe

temperatures. Plaintiffs and Class members were reasonable and justified in their reliance on

Samsung’s representations about the Samsung Devices and omissions about the Defect because

Defendants are multinational smart device manufacturers well-versed in the design, manufacture,

and service of devices like the Samsung Devices.




                                               - 29 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 34 of 67 PageID: 34




       112.    Defendants had a duty to disclose the Defect to Plaintiffs and Class members

because the true facts about the Defect were known and accessible only to Defendants, and because

Defendants knew these facts were not known to or reasonably discoverable by Plaintiffs or the

Class members unless and until the tech publications discovered Samsung’s cheating and banned

its devices from their benchmark testing. As alleged herein, Defendants denied and concealed the

Defect in the face of consumer complaints. Plaintiffs and Class members did not, and could not,

unravel Samsung’s deception on their own.

       113.    Samsung’s omissions were made with knowledge of their falsity, and with the

intent that Plaintiffs and the Class Members rely on them.

       114.    Plaintiffs and Class members were entitled to rely on Samsung’s misrepresentations

and omissions because they are purchasers and lessees of Samsung’s Samsung Devices, and

Defendants have been enriched by the sales of these Devices.

       115.    Plaintiffs   and   the   Class    members     reasonably   relied   on   Samsung’s

misrepresentations and omissions and suffered injury and monetary damages as a direct and

proximate result. Had Defendants not concealed the material facts of the Defect, Plaintiffs and the

Class would not have purchased the Samsung Devices or would have paid less for them. Plaintiffs

and Class members have also incurred out-of-pocket costs related to the Defect, loss of use of their

Samsung Devices, and diminished value in their Devices because of Samsung’s fraud and the

growing public awareness about the Defect. Accordingly, Defendants are liable to Plaintiffs and

the Class for damages in an amount to be proven at trial.

       116.    Samsung’s acts were committed wantonly, maliciously, oppressively, deliberately,

with intent to defraud; in reckless disregard of the rights Plaintiffs and the Class; and to enrich

themselves. Their misconduct warrants an assessment of punitive damages in an amount sufficient




                                                - 30 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 35 of 67 PageID: 35




to deter such conduct in the future, and such amount shall be determined according to proof at

trial.

                                            COUNT III

        BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
  (ALLEGED BY ALL PLAINTIFFS ON BEHALF OF THE NATIONWIDE CLASS OR,
               ALTERNATIVELY, THE STATE SUBCLASSES)

         117.   Plaintiffs and the Class reallege and incorporate by reference all paragraphs as

though fully set forth herein.

         118.   Plaintiffs bring this claim on behalf of themselves and the Nationwide Class against

all Defendants. Alternatively, Plaintiffs bring this claim on behalf of themselves and the State

Subclasses against all Defendants.

         119.   All contracts contain an implied covenant of good faith and fair dealing. The

implied covenant of good faith and fair dealing is an independent duty and may be breached even

if there is no breach of a contract’s express terms.

         120.   A contractual relationship existed between Plaintiffs and class members and

Defendants. As alleged herein, Defendants were the designers, manufacturers, distributors, and

warrantors of the Samsung Devices. Defendants provided Plaintiffs with an express warranty

arising from Samsung’s one-year warranties, as well as an implied warranty of merchantability in

connection with the purchase or lease of their Samsung Devices. Defendants warranted that the

Samsung Devices were fit for their ordinary purpose, would pass without objection in the trade as

designed, manufactured, and marketed, and were adequately contained, packaged, and labeled.

         121.   At all relevant times, Plaintiffs and the Class members adhered to the warranty

requirements for their Samsung Devices relevant to the Defect.

         122.   Defendants breached the covenant of good faith and fair dealing by, inter alia,

failing to notify Plaintiffs and Class members of the Defect in the Samsung Devices, and failing



                                                - 31 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 36 of 67 PageID: 36




to fully and properly repair this Defect, thereby depriving Plaintiffs and the Class of the benefits

under the contract. As a result of Samsung’s breach of their duty of good fair and fair dealing,

Plaintiffs were monetarily damaged, suffering out of pocket costs related to the Defect, loss of use,

and diminution of value in the Samsung Devices. Had Plaintiffs and Class members known about

the Defect, they would not have purchased or leased the Devices, or they would have paid less for

them.

          123.   Defendants acted in bad faith and/or with a malicious motive to deny Plaintiffs and

Class members some benefit of the bargain originally intended by the parties, thereby causing

them injuries in an amount to be determined at trial.

                                             COUNT IV

                        UNJUST ENRICHMENT / QUASI-CONTRACT

          124.   Plaintiffs reallege and incorporates the preceding paragraphs as if fully set forth

herein.

          125.   Plaintiffs bring this cause of action for themselves and on behalf of the Nationwide

Classes under the common law of fraud, which is materially uniform in all states. In the alternative,

each Plaintiff brings this claim on behalf of her/himself and the state subclass that they represent.

          126.   Plaintiffs bring this claim as an alternative to the contractual warranty claims

asserted below or due to Samsung’s intentional and deceptive efforts to conceal the defects in the

Devices and avoid Samsung’s warranty obligations.

          127.   Samsung received hundreds of millions—if not billions—in revenue from the sale

of the Devices.

          128.   This revenue was a benefit conferred upon Samsung by Plaintiffs and the Classes.

          129.   Samsung was unjustly enriched through financial benefits conferred upon it by

Plaintiffs and the Classes, in the form of the amounts paid to Samsung for the Devices.



                                                - 32 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 37 of 67 PageID: 37




          130.   Plaintiffs and the Classes elected to purchase the Devices based upon Samsung’s

misrepresentations, deception, and omissions. Samsung knew and understood that it would and

did receive a financial benefit, and voluntarily accepted the same, from Plaintiffs and the Classes

when they elected to purchase the defective Devices.

          131.   By selecting Samsung’s Devices and purchasing them at a premium price, Plaintiffs

and the Classes reasonably expected that the Devices would have the unmatched performance and

quality promised by Samsung.

          132.   Therefore, because Samsung will be unjustly enriched if it is allowed to retain the

revenues obtained through falsehoods, deception, and misrepresentations, Plaintiffs and each Class

Member are entitled to recover the amount by which Samsung was unjustly enriched at his or her

expense.

          133.   Accordingly, Plaintiffs, on behalf of themselves and each Class member, seeks

damages against Samsung in the amounts by which Samsung has been unjustly enriched at

Plaintiffs’ and each Class Member’s expense, and such other relief as this Court deems just and

proper.

B.        Claims Brought on Behalf of the Alabama Subclass

                                              COUNT V

                              VIOLATIONS OF THE ALABAMA
                            DECEPTIVE TRADE PRACTICES ACT
                               (ALA. CODE §§ 8-19-1, ET SEQ.)

          134.   Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          135.   Plaintiff Stewart brings this Count on behalf of the Alabama Subclass against

Defendants.

          136.   Plaintiff, other members of the Subclass, and Defendants, are “persons” as defined

by the Alabama Deceptive Trade Practices Act (“Alabama DTPA”). Ala. Code § 8-19-3(5).



                                                 - 33 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 38 of 67 PageID: 38




Plaintiff, and other members of the Subclass, are “consumers” within the meaning of the Alabama

DTPA. Ala. Code § 8-19-3(2). The Samsung Devices are “goods” within the meaning of the

Alabama DTPA. Ala. Code § 8-19-3(3). Samsung was and is engaged in “trade or commerce”

within the meaning of Ala. Code § 8-19-3(8).

       137.    The Alabama Deceptive Trade Practices Act makes unlawful “(5) Representing that

goods or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

qualities that they do not have,” “(7) Representing that goods or services are of a particular

standard, quality, or grade, or that goods are of a particular style or model, if they are of another,”

and “(27) Engaging in any other unconscionable, false, misleading, or deceptive act or practice in

the conduct of trade or commerce.” Ala. Code § 8-19-5. Samsung has engaged in unfair or

deceptive acts or practices that violated the Alabama DTPA, as described above and below, by,

among other things, representing that the Samsung Devices have characteristics, uses, benefits,

and qualities which they do not have; representing that the Samsung Devices are of a particular

standard, quality, and grade when they are not; advertising the Samsung Devices with the intent

not to sell them as advertised; and representing that the subject of a transaction involving the

Samsung Devices has been supplied in accordance with a previous representation when it has not.

       138.    In the course of Samsung’s business, it willfully failed to disclose and actively

concealed that the Devices were defective, such that normal use of the Samsung Devices would

be at speeds and with performance far lower than the benchmark test results Samsung achieved

through its cheating app. Accordingly, Samsung engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment, suppression, or

omission of any material fact with intent that others rely upon such concealment, suppression, or

omission, in connection with the sale of Samsung Devices.




                                                - 34 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 39 of 67 PageID: 39




       139.    In purchasing or leasing the Samsung Devices, Plaintiff and Subclass members

were deceived by Samsung’s failure to disclose that normal use of the Samsung Devices would be

at speeds and with performance far below the benchmark test results.

       140.    Plaintiff and the Subclass members reasonably relied upon Samsung’s false

misrepresentations. They had no way of knowing that Samsung’s representations were false and

gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods of

deception. Plaintiff and the Subclass members did not, and could not, unravel Samsung’s deception

on their own, as Plaintiff and Subclass members were not aware of the defective nature of the

Samsung Devices prior to purchase.

       141.    Samsung’s actions as set forth above occurred in the conduct of trade or commerce.

       142.    Samsung’s deception, fraud, misrepresentation, concealment, suppression, or

omission of material facts were likely to and did in fact deceive reasonable consumers.

       143.    Samsung intentionally and knowingly misrepresented material facts regarding the

Samsung Devices with intent to mislead Plaintiff and the Subclass members.

       144.    Samsung knew or should have known that its conduct violated Alabama law

regarding unfair or deceptive acts in trade or commerce.

       145.    Samsung owed Plaintiff and Subclass members a duty to disclose the truth about

the Defect because Defendant:

               a.     Possessed exclusive knowledge of the design of the Samsung Devices and

                      the GOS software’s intent to cheat the benchmark tests;

               b.    Intentionally concealed the foregoing from Plaintiff and the Subclass

                     members; and/or




                                              - 35 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 40 of 67 PageID: 40




               c.     Made incomplete representations regarding the quality of the Samsung

                      Devices, while purposefully withholding material facts from Plaintiff and the

                      Subclass members that contradicted these representations.

       146.    Due to its specific and superior knowledge that the GOS app in the Samsung

Devices was intend to obtain false results in benchmark testing, its false representations regarding

the quality of the Samsung Devices, and Plaintiff’s and Subclass members’ reliance on these

material representations, Samsung had a duty to disclose to Plaintiff and Subclass members that

the Samsung Devices were defective and that Samsung Devices do not have the real-world

performance indicated by the benchmark tests. Having volunteered to provide information to

Plaintiff and Subclass members, Samsung had the duty to disclose not just the partial truth, but the

entire truth. These omitted and concealed facts were material because they directly impact the

value of the Samsung Devices purchased or leased by Plaintiff and Subclass members.

Performance is a material concern to smartphone consumers. Samsung represented to Plaintiff and

Subclass members that they were purchasing smartphones that were free from defect, when in fact

the smartphones were defective and would not operate at the performance levels indicated by the

benchmark tests.

       147.    Samsung’s conduct proximately caused injuries to Plaintiff and the Subclass

members.

       148.    Plaintiff and the Subclass members were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of Samsung’s conduct, Plaintiff and the

Subclass members overpaid for their Samsung Devices and did not receive the benefit of their

bargain, and their Samsung Devices have suffered a diminution in value. These injuries are the

direct and natural consequence of Samsung’s misrepresentations and omissions.




                                               - 36 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 41 of 67 PageID: 41




       149.    Samsung’s unlawful acts and practices complained of herein affect the public

interest as their actions offend public policy and are immoral, unethical, oppressive, unscrupulous,

and substantially injurious to consumers.

       150.    As a direct and proximate result of Samsung’s violations of the Alabama DTPA,

Plaintiff and the Subclass members have suffered injury-in-fact and/or actual damage.

       151.    Pursuant to the Alabama DTPA, Samsung is liable to Plaintiff and the Subclass for

damages in amounts to be proven at trial, treble damages for willful and knowing violations,

punitive damages, and attorneys’ fees and costs, as well as any other remedies the Court may deem

appropriate under the Alabama DTPA.

C.     Claims Brought on Behalf of the California Subclass

                                            COUNT VI

                          VIOLATIONS OF THE CALIFORNIA
                              UNFAIR COMPETITION LAW
                       (CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.)

       152.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

       153.    Plaintiff Roeder bring this Count on behalf of the California Subclass against

Defendants.

       154.    California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200,

et seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent

business act or practice and unfair, deceptive, untrue or misleading advertising.” Defendants have

engaged in unfair or deceptive acts or practices that violated the UCL, as described above and

below, by, among other things, representing that the Samsung Devices have characteristics, uses,

benefits, and qualities which they do not have; representing that the Samsung Devices are of a

particular standard, quality, and grade when they are not; advertising the Samsung Devices with

the intent not to sell them as advertised; and representing that the subject of a transaction involving



                                                - 37 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 42 of 67 PageID: 42




the Samsung Devices has been supplied in accordance with a previous representation when it has

not.

       155.    In the course of Samsung’s business, it willfully failed to disclose and actively

concealed that the smartphone was defective, such that normal use of the Samsung Devices would

be with performance far lower than advertised and represented from benchmark tests. Particularly

in light of Samsung’s advertising campaign, a reasonable American consumer would expect the

Samsung Devices to have high performance running every day apps. Accordingly, Samsung

engaged in unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact with intent that

others rely upon such concealment, suppression, or omission, in connection with the sale of

Samsung Devices.

       156.    In purchasing or leasing the Samsung Devices, Plaintiff and Subclass members

were deceived by Samsung’s failure to disclose that normal use of the Samsung Devices would be

at speed and performance levels far below that of the benchmark tests.

       157.    Plaintiff and the Subclass members reasonably relied upon Samsung’s false

misrepresentations. They had no way of knowing that Samsung’s representations were false and

gravely misleading. As alleged herein, Samsung engaged in extremely sophisticated methods of

deception. Plaintiff and the Subclass members did not, and could not, unravel Samsung’s deception

on their own, as Plaintiff and Subclass members were not aware of the defective nature of the

Samsung Devices prior to purchase.

       158.    Samsung’s actions as set forth above occurred in the conduct of trade or commerce.

       159.    Samsung’s deception, fraud, misrepresentation, concealment, suppression, or

omission of material facts were likely to and did in fact deceive reasonable consumers.




                                              - 38 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 43 of 67 PageID: 43




       160.    Samsung intentionally and knowingly misrepresented material facts regarding the

Samsung Devices with intent to mislead Plaintiff and the Subclass members.

       161.    Samsung knew or should have known that its conduct violated California law

regarding unfair or deceptive acts in trade or commerce.

       162.    Samsung owed Plaintiff and Subclass members a duty to disclose the truth about

the Defect because Defendant:

               a.     Possessed exclusive knowledge of the design of the Samsung Devices and

                      the Defect;

               b.     Intentionally concealed the foregoing from Plaintiff and the Subclass

                      members; and/or

               c.     Made incomplete representations regarding the quality of the Samsung

                      Devices, while purposefully withholding material facts from Plaintiff and the

                      Subclass members that contradicted these representations.

       163.    Due to its specific and superior knowledge that the Samsung Devices were cheating

on the benchmark tests, its false representations regarding the quality of the Samsung Devices, and

Plaintiff’s and Subclass members’ reliance on these material representations, Samsung had a duty

to disclose to Plaintiff and Subclass members that the Samsung Devices were defective, that

Samsung Devices do not have the expected performance over other smartphones, and that the GOS

app was throttling every day apps. Having volunteered to provide information to Plaintiff and

Subclass members, Samsung had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the value of the

Samsung Devices purchased or leased by Plaintiff and Subclass members. Performance is a

material concern to smartphone consumers. Samsung represented to Plaintiff and Subclass




                                               - 39 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 44 of 67 PageID: 44




members that they were purchasing smartphones that were free from defect, when in fact the

smartphones were defective.

       164.    Samsung’s conduct proximately caused injuries to Plaintiff and the Subclass

members.

       165.    Plaintiff and the Subclass members were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of Samsung’s conduct, Plaintiff and the

Subclass members overpaid for their Samsung Devices and did not receive the benefit of their

bargain, and their Samsung Devices have suffered a diminution in value. These injuries are the

direct and natural consequence of Samsung’s misrepresentations and omissions.

       166.    Samsung’s unlawful acts and practices complained of herein affect the public

interest as their actions offend public policy and are immoral, unethical, oppressive, unscrupulous,

and substantially injurious to consumers.

       167.    As a direct and proximate result of Samsung’s violations of the UCL, Plaintiff and

the Subclass members have suffered injury-in-fact and/or actual damage.

       168.    Defendants have been unjustly enriched and should be required to make restitution

to Plaintiff and members of the California Subclass pursuant to §§ 17203 and 17204 of the

Business & Professions Code. Plaintiff and the California Subclass also seek injunctive relief as

deemed appropriate by the Court.

                                            COUNT VII

                           VIOLATIONS OF THE CALIFORNIA
                           CONSUMER LEGAL REMEDIES ACT
                            (CAL. CIV. CODE §§ 1750, ET SEQ.)

       169.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

       170.    Plaintiff Roeder brings this Count on behalf of the California Subclass against

Defendants.



                                               - 40 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 45 of 67 PageID: 45




       171.    Plaintiff and other members of the Subclass are “consumers” as defined in Cal. Civ.

Code § 1761(d), and Plaintiff, the other Subclass members, and Defendants are “persons” as

defined in Cal. Civ. Code § 1761(c).

       172.    The Samsung Devices are “goods” as defined in Cal. Civ. Code § 1761(a).

       173.    California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750,

et seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices

undertaken by any person in a transaction intended to result or which results in the sale or lease of

goods or services to any consumer.”

       174.    Samsung’s conduct as described herein was and is in violation of the CLRA.

Samsung’s conduct violates at least the following enumerated CLRA provisions:

               i.      Cal. Civ. Code § 1770(a)(5): Representing that the Samsung Devices have

                       sponsorship, approval, characteristics, uses, benefits or quantities that they

                       do not have.

               ii.     Cal. Civ. Code § 1770(a)(7): Representing that the Samsung Devices are of

                       a particular standard, quality, or grade if they are of another.

               iii.    Cal. Civ. Code § 1770(a)(9): Advertising the Samsung Devices with intent

                       not to sell them as advertised.

               iv.     Cal. Civ. Code § 1770(a)(16): Representing that the subject of a transaction

                       involving the Samsung Devices has been supplied in accordance with a

                       previous representation when it has not.

       175.    In the course of Samsung’s business, it willfully failed to disclose and actively

concealed that the smartphone was defective, such that normal use of the Samsung Devices would

be at performance levels far below the benchmark testing results. Particularly in light of Samsung’s




                                               - 41 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 46 of 67 PageID: 46




advertising campaign, a reasonable American consumer would expect the Samsung Devices to

operate every day apps at the speeds represented by the benchmark tests. Accordingly, Defendants

engaged in unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact with intent that

others rely upon such concealment, suppression, or omission, in connection with the sale of

Samsung Devices.

       176.    In purchasing or leasing the Samsung Devices, Plaintiff and Subclass members

were deceived by Samsung’s failure to disclose that normal use of the Samsung Devices would be

at speeds far below the benchmark test results.

       177.    Plaintiff and the Subclass members reasonably relied upon Samsung’s false

misrepresentations. They had no way of knowing that Samsung’s representations were false and

gravely misleading. As alleged herein, Samsung engaged in extremely sophisticated methods of

deception. Plaintiff and the Subclass members did not, and could not, unravel Samsung’s deception

on their own, as Plaintiff and Subclass members were not aware of the defective nature of the

Samsung Devices prior to purchase.

       178.    Samsung’s actions as set forth above occurred in the conduct of trade or commerce.

       179.    Samsung’s deception, fraud, misrepresentation, concealment, suppression, or

omission of material facts were likely to and did in fact deceive reasonable consumers.

       180.    Defendants intentionally and knowingly misrepresented material facts regarding

the Samsung Devices with intent to mislead Plaintiff and the Subclass members.

       181.    Defendants knew or should have known that its conduct violated California law

regarding unfair or deceptive acts in trade or commerce.




                                              - 42 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 47 of 67 PageID: 47




       182.    Defendants owed Plaintiff and Subclass members a duty to disclose the truth about

the Defect because Defendants:

               a.      Possessed exclusive knowledge of the design of the Samsung Devices and

                       the use of the GOS app to cheat the benchmark tests;

               b.      Intentionally concealed the foregoing from Plaintiff and the Subclass

                       members; and/or

               c.      Made incomplete representations regarding the performance of the

                       Samsung Devices, while purposefully withholding material facts from

                       Plaintiff and the Subclass members that contradicted these representations.

       183.    Due to its specific and superior knowledge that the Samsung Devices were cheating

the benchmark tests, its false representations regarding the performance of the Samsung Devices,

and Plaintiff’s and Subclass members’ reliance on these material representations, Defendants had

a duty to disclose to Plaintiff and Subclass members that the Samsung Devices were defective, that

Samsung Devices do not have the expected performance over other smartphones, that the GOS

app was designed and intended to result in fraudulent benchmark tests. Having volunteered to

provide information to Plaintiff and Subclass members, Defendants had the duty to disclose not

just the partial truth, but the entire truth. These omitted and concealed facts were material because

they directly impact the value of the Samsung Devices purchased or leased by Plaintiff and

Subclass members. Performance is a material concern to smartphone consumers. Defendants

represented to Plaintiff and Subclass members that they were purchasing smartphones that were

free from defect, when in fact the smartphones were defective.

       184.    Samsung’s conduct proximately caused injuries to Plaintiff and the Subclass

members.




                                               - 43 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 48 of 67 PageID: 48




       185.    Plaintiff and the Subclass members were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of Samsung’s conduct, Plaintiff and the

Subclass members overpaid for their Samsung Devices and did not receive the benefit of their

bargain, and their Samsung Devices have suffered a diminution in value. These injuries are the

direct and natural consequence of Samsung’s misrepresentations and omissions.

       186.    Samsung’s unlawful acts and practices complained of herein affect the public

interest as their actions offend public policy and are immoral, unethical, oppressive, unscrupulous,

and substantially injurious to consumers.

       187.    As a direct and proximate result of Samsung’s violations of the CLRA, Plaintiff

and the Subclass members have suffered injury-in-fact and/or actual damage.

       188.    Plaintiff and the Subclass are entitled to recover actual and punitive damages under

the CLRA pursuant to Civil Code § 1780(a), and an additional award of up to $5,000 to each

Plaintiff and any class member who is a “senior citizen,” as well as any other remedies the Court

may deem appropriate under the CLRA. On April 8, 2022, Plaintiff and the Subclass provided

Defendants with notice of its violations of the CLRA pursuant to Cal. Civ. Code § 1782(a).

                                            COUNT VIII

                         VIOLATIONS OF THE CALIFORNIA
                              FALSE ADVERTISING LAW
                      (CAL. BUS. & PROF. CODE §§ 17500, ET SEQ.)

       189.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

       190.    Plaintiff Roeder brings this Count on behalf of the California Subclass against

Defendants.

       191.    Defendants have benefitted from intentionally selling and leasing at an unjust profit

defective Samsung Devices at artificially inflated prices due to the cheating of benchmark tests,

and Plaintiff and other California Subclass members overpaid for their Samsung Devices.



                                               - 44 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 49 of 67 PageID: 49




       192.    Defendants publicly disseminated advertising and promotional material that was

designed and intended to convey to the public that the Samsung Devices were capable of operating

at high speeds with long battery life, and would operate as consumers would expect the Samsung

Devices to operate.

       193.    Defendants were aware of the Defect at the time Plaintiff and the California

Subclass purchased or leased the Samsung Devices and it intentionally designed the GOS app to

defraud consumers about the actual speed and performance of the Samsung Devices.

       194.    Defendants publicly disseminated advertising and promotional material that was

designed and intended to convey to the public that the Samsung Devices were faster and had better

performance than they actually had.

       195.    However, Defendants intentionally made representations in its advertisements and,

due to issues it was aware of, did not sell the Samsung Devices that conformed to the

representations and promises in the publicly disseminated advertisements.

       196.    Defendants unjustly received and retained benefits from Plaintiff and the other

California Subclass members.

       197.    It is inequitable and unconscionable for Defendants to retain these benefits.

       198.    Because Defendants wrongfully concealed their misconduct, Plaintiff and

California Subclass members were not aware of the facts concerning the Samsung Devices and

did not benefit from Samsung’s misconduct.

       199.    Defendants knowingly accepted the unjust benefits of its wrongful conduct.

       200.    Defendants had notice of conduct as alleged herein.

       201.    As a result of Samsung’s misconduct, Plaintiff and the California Subclass suffered

an injury-in-fact and lost money and/or property in an amount to be proven at trial.




                                              - 45 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 50 of 67 PageID: 50




D.     Claims Brought on Behalf of the Florida Subclass

                                           COUNT IX

                      VIOLATIONS OF THE FLORIDA DECEPTIVE
                        AND UNFAIR TRADE PRACTICES ACT
                           (FLA. STAT. § 501.201, ET SEQ.)

       202.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

       203.    Plaintiff Hamilton brings this Count on behalf of the Florida Subclass against

Samsung.

       204.    Plaintiff and other members of the Subclass are “consumers” as defined by the

Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). Fla. Stat. § 501.203(7).

       205.    Samsung engaged in “trade or commerce” as defined by Fla. Stat. § 501.203(8).

       206.    The sale of the smartphones to Plaintiff and other Florida Subclass members was a

“consumer transaction” as defined by Fla. Stat. § 1345.01.

       207.    The Florida Deceptive and Unfair Trade Practices Act prohibits “[u]nfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce…” Fla. Stat. § 501.204(1). Samsung has engaged in unfair or

deceptive acts or practices that violated the FDUTPA, as described above and below, by, among

other things, representing that the Samsung Devices have characteristics, uses, benefits, and

qualities which they do not have; representing that the Samsung Devices are of a particular

standard, quality, and grade when they are not; advertising the Samsung Devices with the intent

not to sell them as advertised; and representing that the subject of a transaction involving the

Samsung Devices has been supplied in accordance with a previous representation when it has not.

       208.    In the course of Samsung’s business, it willfully failed to disclose and actively

concealed that the smartphone was defective, such that normal use of the Samsung Devices would

be at performance levels far below its benchmark tests. Particularly in light of Samsung’s



                                               - 46 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 51 of 67 PageID: 51




advertising campaign, a reasonable American consumer would expect the Samsung Devices to

have high performance consistent with the benchmark tests. Accordingly, Samsung engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact with intent that

others rely upon such concealment, suppression, or omission, in connection with the sale of

Samsung Devices.

       209.    In purchasing or leasing the Samsung Devices, Plaintiff and Subclass members

were deceived by Samsung’s failure to disclose that normal use of the Samsung Devices would be

at performance levels far below the benchmark test results.

       210.    Plaintiff and the Subclass members reasonably relied upon Samsung’s false

misrepresentations. They had no way of knowing that Samsung’s representations were false and

gravely misleading. As alleged herein, Samsung engaged in extremely sophisticated methods of

deception. Plaintiff and the Subclass members did not, and could not, unravel Samsung’s deception

on their own, as Plaintiff and Subclass members were not aware of the defective nature of the

Samsung Devices prior to purchase.

       211.    Samsung’s actions as set forth above occurred in the conduct of trade or commerce.

       212.    Samsung’s deception, fraud, misrepresentation, concealment, suppression, or

omission of material facts were likely to and did in fact deceive reasonable consumers.

       213.    Defendants intentionally and knowingly misrepresented material facts regarding

the Samsung Devices with intent to mislead Plaintiff and the Subclass members.

       214.    Defendants knew or should have known that its conduct violated Florida law

regarding unfair or deceptive acts in trade or commerce.




                                              - 47 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 52 of 67 PageID: 52




       215.   Defendants owed Plaintiff and Subclass members a duty to disclose the truth about

the Defect because Defendant:

              a.      Possessed exclusive knowledge of the design of the Samsung Devices and

                      the use of the GOS app to cheat on benchmark tests;

              b.      Intentionally concealed the foregoing from Plaintiff and the Subclass

                      members; and/or

              c.      Made incomplete representations regarding the performance of the

                      Samsung Devices, while purposefully withholding material facts from

                      Plaintiff and the Subclass members that contradicted these representations.

       216.   Due to its specific and superior knowledge that the Samsung Devices were cheating

the benchmark tests, its false representations regarding the performance of the Samsung Devices,

and Plaintiff’s and Subclass members’ reliance on these material representations, Samsung had a

duty to disclose to Plaintiff and Subclass members that the Samsung Devices were defective, that

Samsung Devices do not have the expected performance over other smartphones and that the GOS

app would throttle the speed and performance of every day apps. Having volunteered to provide

information to Plaintiff and Subclass members, Samsung had the duty to disclose not just the

partial truth, but the entire truth. These omitted and concealed facts were material because they

directly impact the value of the Samsung Devices purchased or leased by Plaintiff and Subclass

members. Performance is a material concern to smartphone consumers. Samsung represented to

Plaintiff and Subclass members that they were purchasing smartphones that were free from defect,

when in fact the smartphones were defective.

       217.   Samsung’s conduct proximately caused injuries to Plaintiff and the Subclass

members.




                                               - 48 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 53 of 67 PageID: 53




       218.    Plaintiff and the Subclass members were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of Samsung’s conduct, Plaintiff and the

Subclass members overpaid for their Samsung Devices and did not receive the benefit of their

bargain, and their Samsung Devices have suffered a diminution in value. These injuries are the

direct and natural consequence of Samsung’s misrepresentations and omissions.

       219.    Samsung’s unlawful acts and practices complained of herein affect the public

interest as their actions offend public policy and are immoral, unethical, oppressive, unscrupulous,

and substantially injurious to consumers.

       220.    As a direct and proximate result of Samsung’s violations of the FDUTPA, Plaintiff

and the Subclass members have suffered injury-in-fact and/or actual damage.

       221.    Pursuant to the FDUTPA, Samsung is liable to Plaintiff and the Subclass for

damages in amounts to be proven at trial, treble damages for willful and knowing violations,

punitive damages, and attorneys’ fees and costs, as well as any other remedies the Court may deem

appropriate under the FDUTPA.

E.     Claims Brought on Behalf of the Illinois Subclass

                                            COUNT X

                    VIOLATIONS OF THE ILLINOIS CONSUMER
                 FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                            (815 ILCS 505/1, ET SEQ.)

       222.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

       223.    Plaintiff Rehkember brings this Count on behalf of the Illinois Subclass against

Samsung.

       224.    Plaintiff, and other members of the Subclass, are “consumers” as that term is

defined in 815 ILCS 505/1(e).

       225.    Samsung is a “person” within the meaning of 815 ILCS 505/1(c).



                                               - 49 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 54 of 67 PageID: 54




       226.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois

CFA”) prohibits “unfair or deceptive acts or practices, including but not limited to the use or

employment of any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, with intent that others rely upon the

concealment, suppression or omission of such material fact … in the conduct of trade or commerce

… whether any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

Samsung has engaged in unfair or deceptive acts or practices that violated the Illinois CFA, as

described above and below, by, among other things, representing that the Samsung Devices have

characteristics, uses, benefits, and qualities which they do not have; representing that the Samsung

Devices are of a particular standard, quality, and grade when they are not; advertising the Samsung

Devices with the intent not to sell them as advertised; and representing that the subject of a

transaction involving the Samsung Devices has been supplied in accordance with a previous

representation when it has not.

       227.    In the course of Samsung’s business, it willfully failed to disclose and actively

concealed that the smartphone was defective, such that normal use of the Samsung Devices would

be at performance levels far below its benchmark tests. Particularly in light of Samsung’s

advertising campaign, a reasonable American consumer would expect the Samsung Devices to

have performance levels consistent with their benchmark tests. Accordingly, Samsung engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact with intent that

others rely upon such concealment, suppression, or omission, in connection with the sale of

Samsung Devices.




                                               - 50 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 55 of 67 PageID: 55




       228.    In purchasing or leasing the Samsung Devices, Plaintiff and Subclass members

were deceived by Samsung’s failure to disclose that normal use of the Samsung Devices would be

at speeds far below the benchmark test results.

       229.    Plaintiff and the Subclass members reasonably relied upon Samsung’s false

misrepresentations. They had no way of knowing that Samsung’s representations were false and

gravely misleading. As alleged herein, Samsung engaged in extremely sophisticated methods of

deception. Plaintiff and the Subclass members did not, and could not, unravel Samsung’s deception

on their own, as Plaintiff and Subclass members were not aware of the defective nature of the

Samsung Devices prior to purchase.

       230.    Samsung’s actions as set forth above occurred in the conduct of trade or commerce.

       231.    Samsung’s deception, fraud, misrepresentation, concealment, suppression, or

omission of material facts were likely to and did in fact deceive reasonable consumers.

       232.    Samsung intentionally and knowingly misrepresented material facts regarding the

Samsung Devices with intent to mislead Plaintiff and the Subclass members.

       233.    Samsung knew or should have known that its conduct violated Illinois law

regarding unfair or deceptive acts in trade or commerce.

       234.    Samsung owed Plaintiff and Subclass members a duty to disclose the truth about

the Defect because Defendant:

               a.     Possessed exclusive knowledge of the design of the Samsung Devices and

                      the use of the GOS app to cheat benchmark tests;

               b.     Intentionally concealed the foregoing from Plaintiff and the Subclass

                      members; and/or




                                              - 51 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 56 of 67 PageID: 56




               c.     Made incomplete representations regarding the quality of the Samsung

                      Devices, while purposefully withholding material facts from Plaintiff and

                      the Subclass members that contradicted these representations.

       235.    Due to its specific and superior knowledge that it was cheating the benchmark tests,

its false representations regarding the performance of the Samsung Devices, and Plaintiff’s and

Subclass members’ reliance on these material representations, Samsung had a duty to disclose to

Plaintiff and Subclass members that the Samsung Devices were defective, that Samsung Devices

do not have the expected performance over other smartphones, and that the GOS app was throttling

the speed of every day apps. Having volunteered to provide information to Plaintiff and Subclass

members, Samsung had the duty to disclose not just the partial truth, but the entire truth. These

omitted and concealed facts were material because they directly impact the value of the Samsung

Devices purchased or leased by Plaintiff and Subclass members. Performance is a material concern

to smartphone consumers. Samsung represented to Plaintiff and Subclass members that they were

purchasing smartphones that were free from defect, when in fact the smartphones were defective.

       236.    Samsung’s conduct proximately caused injuries to Plaintiff and the Subclass

members.

       237.    Plaintiff and the Subclass members were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of Samsung’s conduct, Plaintiff and the

Subclass members overpaid for their Samsung Devices and did not receive the benefit of their

bargain, and their Samsung Devices have suffered a diminution in value. These injuries are the

direct and natural consequence of Samsung’s misrepresentations and omissions.




                                              - 52 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 57 of 67 PageID: 57




       238.    Samsung’s unlawful acts and practices complained of herein affect the public

interest as their actions offend public policy and are immoral, unethical, oppressive, unscrupulous,

and substantially injurious to consumers.

       239.    As a direct and proximate result of Samsung’s violations of the Illinois CFA,

Plaintiff and the Subclass members have suffered injury-in-fact and/or actual damage.

       240.    Pursuant to the Illinois CFA, Samsung is liable to Plaintiff and the Subclass for

damages in amounts to be proven at trial, treble damages for willful and knowing violations,

punitive damages, and attorneys’ fees and costs, as well as any other remedies the Court may deem

appropriate under the Illinois CFA. Plaintiff will mail a copy of the Complaint to the Attorney

General of the State of Illinois in accordance with 815 ILCS § 505/10 a (d).

F.     Claims Brought on Behalf of the Iowa Subclass

                                            COUNT XI

                        VIOLATION OF IOWA PRIVATE RIGHT
                       OF ACTION FOR CONSUMER FRAUDS ACT
                            IOWA CODE § 714H.1, ET SEQ.

       241.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

       242.    Plaintiff Brumback brings this Count on behalf of the Iowa Subclass against

Samsung.

       243.    The Iowa Private Right of Action for Consumer Frauds Act, Iowa Code § 714H.3,

provides in pertinent part:

                       A person shall not engage in a practice or act the person
               knows or reasonably should know is [a] deception, fraud, false
               pretense, or false promise, or the misrepresentation, concealment,
               suppression, or omission of a material fact, with the intent that
               others rely upon the unfair practice, deception, fraud, false pretense,
               false promise, misrepresentation, concealment, suppression, or
               omission in connection with the advertisement, sale, or lease of
               consumer merchandise…




                                               - 53 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 58 of 67 PageID: 58




       244.    Under the Iowa Private Right of Action for Consumer Frauds Act, actual damages

“means all compensatory damages proximately caused by the prohibited practice or act that are

reasonably ascertainable in amount” and “ [a] consumer who suffers an ascertainable loss of money

or property as the result of a prohibited practice or act in violation of this chapter may bring an

action at law to recover actual damages,” equitable relief, including a temporary or permanent

injunctive relief, and reasonable attorney’s fees.

       245.    Defendants engaged in a deceptive consumer-oriented act by: (1) creating and

installing on the Samsung Devices the GOS app, which caused the Devices to achieve benchmark

test results that overstated the actual performance of the Devices; and (2) falsely representing in

advertising, on its website, the product container, product manual and/or inserts that the Samsung

Devices were capable of speeds and performance that were only achieved by cheating on the

benchmark tests.

       246.    These alleged unfair practices, deceptions, fraud, false pretenses, false promises, or

misrepresentations related to a material fact or facts.

       247.    Plaintiff Brumback and the Iowa Subclass have sustained ascertainable losses of

money, and are entitled to actual damages and appropriate injunctive relief, as the result of a

prohibited practice or actions. In addition, Plaintiff and the Iowa Subclass shall show by a

preponderance of clear, convincing, and satisfactory evidence that the prohibited practice or act in

violation in willful and wanton disregard for the rights or safety of another, entitling them to

statutory damages up to three times the amount of actual damages may be awarded to a prevailing

consumer.




                                                - 54 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 59 of 67 PageID: 59




G.     Claims Brought on Behalf of the Massachusetts Subclass

                                            COUNT XII

     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION LAW
                       MASS. GEN. LAWS, CH. 93A
             (PLAINTIFF INDIVIDUALLY AND ON BEHALF OF
                    THE MASSACHUSETTS SUBCLASS)

       248.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

       249.     Plaintiff McAvoy brings this Count on behalf of the Massachusetts Subclass against

Samsung.

       250.     Plaintiff provided a written demand for relief to Samsung pursuant to Mass. Gen.

Laws, Ch. 93A § 9(3).

       251.     Plaintiff and Massachusetts Subclass Members were at all relevant times “persons”

as defined in Mass. Gen. Law, Ch. 93A.

       252.     Samsung was at all relevant times engaged in “trade” or “commerce” through its

marketing, advertising, distribution, and sale of the Samsung Devices, as defined in Mass. Gen.

Law, Ch. 93A.

       253.     The Samsung Devices at issue constitute tangible property under Mass. Gen. Law,

Ch. 93A.

       254.     Samsung’s foregoing unfair methods of competition and unfair or deceptive acts or

practices, including its omissions, were and are committed in its course of trade or commerce,

directed at consumers, affect the public interest, and injured Plaintiff and Massachusetts Subclass

Members.

       255.     Samsung’s foregoing unfair methods of competition and unfair or deceptive acts or

practices, including its omissions, were material, in part, because they concerned an essential part

of the Samsung Devices’ intended use. Samsung omitted material facts regarding the actual




                                                - 55 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 60 of 67 PageID: 60




performance (or lack thereof) of the Samsung Devices by failing to disclose the use of the GOS

app to cheat benchmark tests. Rather than disclose this information, Samsung marketed and labeled

the Samsung Devices as having high speed and performance with long battery life, when in fact it

throttled performance of every day apps in order to obtain safe operating temperatures and

expected battery life.

       256.    Samsung intended Plaintiff and Massachusetts Subclass Members to rely upon its

misrepresentations regarding the Samsung Devices, including that the benchmark tests accurately

reported the performance of the devices for use with every day apps.

       257.    Samsung did not disclose this information to consumers.

       258.    Samsung’s foregoing unfair methods of competition and unfair or deceptive acts or

practices, including its omissions, were and are violations of the Massachusetts Consumer

Protection Law, Mass. Gen. Laws, Ch. 93A, in that:

               a.        Samsung     manufactured,     labeled,   packaged,       marketed,   advertised,

                         distributed, and/or sold the Samsung Devices as having high speed and long

                         battery life that it knew it did not actually achieve;

               b.        Samsung knew that the its use of the GOS app to cheat on benchmark tests

                         was unknown to and would not be easily discovered by Plaintiff and

                         Massachusetts Subclass Members, and would defeat their ordinary,

                         foreseeable and reasonable expectations concerning the performance of the

                         Samsung Devices;

               c.        Plaintiff and Massachusetts Subclass Members were deceived by

                         Samsung’s failure to disclose and could not discover the actual performance

                         of the Samsung Devices was far below that obtained in the benchmark tests;




                                                  - 56 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 61 of 67 PageID: 61




                d.     Samsung       manufactured,    labeled,   packaged,   marketed,   advertised,

                       distributed, and/or sold the Samsung Devices as able to operate and the

                       levels revealed in the benchmark tests, when it knew that the Samsung

                       Devices actually throttled speeds for every day apps and did not achieve the

                       benchmark performance; and

                e.     Samsung’s unfair methods of competition and unfair or deceptive acts or

                       practices, including its omissions, injured Plaintiff and Massachusetts

                       Subclass Members, and had—and still has—the potential to injure members

                       of the public at-large.

         259.   Plaintiff and Massachusetts Subclass Members suffered damages when they

purchased the Samsung Devices. Samsung’s unfair methods of competition and unfair or deceptive

acts or practices, including its omissions, caused actual damages to Plaintiff and the Massachusetts

Subclass Members who were unaware that the Samsung Devices were cheating on benchmark

tests.

         260.   Samsung’s unfair methods of competition and unfair or deceptive acts or practices,

including its omissions, were likely to deceive, and did deceive, consumers acting reasonably

under the circumstances.

         261.   Consumers, including Plaintiff and Massachusetts Subclass Members, would not

have purchased the Samsung Devices had they known about the actual performance of the Devices

for use with every day apps and that the GOS app was intentionally throttling the performance of

the apps that they regularly used.

         262.   As a direct and proximate result of Samsung’s unfair methods of competition and

unfair or deceptive acts or practices, including its omissions, Plaintiff and Massachusetts Subclass




                                                 - 57 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 62 of 67 PageID: 62




Members have been damaged as alleged herein, and are entitled to recover actual damages to the

extent permitted by law, including class action rules, in an amount to be proven at trial.

       263.    Samsung had actual notice of its unfair methods of competition and unfair or

deceptive acts or practices, including its omissions, through its creation and use of the GOS app to

hide the Defect that renders the Samsung Devices far less capable that Samsung represents and its

cheated benchmark tests would suggest.

       264.    In addition, Plaintiff and Massachusetts Subclass Members seek equitable and

injunctive relief against Samsung on terms that the Court considers reasonable, and reasonable

attorneys’ fees and costs.

H.     Claims Brought on Behalf of the South Carolina Subclass

                                          COUNT XIII

                        VIOLATIONS OF THE SOUTH CAROLINA
                           UNFAIR TRADE PRACTICES ACT
                          (S.C. CODE ANN. §§ 39-5-10, ET SEQ.)

       265.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

       266.    Plaintiff Ryder brings this Count on behalf of the South Carolina Subclass against

Samsung.

       267.    Plaintiff, other members of the Subclass, and Samsung are “persons” within the

meaning of the S.C. Code Ann. § 39-5-10(a).

       268.    Samsung engaged in “trade” or “commerce” under S.C. Code Ann. § 39-5-10(b).

       269.    The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”) broadly

prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct

of any trade or commerce.” S.C. Code Ann. § 39-5-20(a). Samsung has engaged in unfair or

deceptive acts or practices that violated S.C. Code Ann. § 39-5-20(a), as described above and

below, by, among other things, representing that the Samsung Devices have characteristics, uses,



                                               - 58 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 63 of 67 PageID: 63




benefits, and qualities which they do not have; representing that the Samsung Devices are of a

particular standard, quality, and grade when they are not; advertising the Samsung Devices with

the intent not to sell them as advertised; and representing that the subject of a transaction involving

the Samsung Devices has been supplied in accordance with a previous representation when it has

not.

       270.    In the course of Samsung’s business, it willfully failed to disclose and actively

concealed that the smartphone was defective, such that normal use of the Samsung Devices would

be at performance levels far below the benchmark test results. Particularly in light of Samsung’s

advertising campaign, a reasonable American consumer would expect the Samsung Devices to

have high performance levels consistent with the benchmark test results. Accordingly, Samsung

engaged in unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact with intent that

others rely upon such concealment, suppression, or omission, in connection with the sale of

Samsung Devices.

       271.    In purchasing or leasing the Samsung Devices, Plaintiff and the Subclass members

were deceived by Samsung’s failure to disclose that normal use of the Samsung Devices would

not be at performance levels consistent with the benchmark test results.

       272.    Plaintiff and the Subclass members reasonably relied upon Samsung’s false

misrepresentations. They had no way of knowing that Samsung’s representations were false and

gravely misleading. As alleged herein, Samsung engaged in extremely sophisticated methods of

deception. Plaintiff and the Subclass members did not, and could not, unravel Samsung’s deception

on their own, as Plaintiff and Subclass members were not aware of the defective nature of the

Samsung Devices prior to purchase.




                                                - 59 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 64 of 67 PageID: 64




       273.    Samsung’s actions as set forth above occurred in the conduct of trade or commerce.

       274.    Samsung’s deception, fraud, misrepresentation, concealment, suppression, or

omission of material facts were likely to and did in fact deceive reasonable consumers.

       275.    Samsung intentionally and knowingly misrepresented material facts regarding the

Samsung Devices with intent to mislead Plaintiff and the Subclass members.

       276.    Samsung knew or should have known that its conduct violated South Carolina law

regarding unfair or deceptive acts in trade or commerce.

       277.    Samsung owed Plaintiff and Subclass members a duty to disclose the truth about

the Defect because Defendant:

               a.      Possessed exclusive knowledge of the design of the Samsung Devices and

                       the use of the GOS app to cheat the benchmark tests;

               b.      Intentionally concealed the foregoing from Plaintiff and the Subclass

                       members; and/or

               c.      Made incomplete representations regarding the quality of the Samsung

                       Devices, while purposefully withholding material facts from Plaintiff and

                       the Subclass members that contradicted these representations.

       278.    Due to its specific and superior knowledge that the Samsung Devices were cheating

the benchmark tests, its false representations regarding the performance of the Samsung Devices,

and Plaintiff’s and Subclass members’ reliance on these material representations, Samsung had a

duty to disclose to Plaintiff and Subclass members that the Samsung Devices were defective, that

Samsung Devices do not have the expected performance over other smartphones and that the GOS

app was throttling every day apps. Having volunteered to provide information to Plaintiff and

Subclass members, Samsung had the duty to disclose not just the partial truth, but the entire truth.




                                               - 60 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 65 of 67 PageID: 65




These omitted and concealed facts were material because they directly impact the value of the

Samsung Devices purchased or leased by Plaintiff and Subclass members. Performance is a

material concern to smartphone consumers. Samsung represented to Plaintiff and Subclass

members that they were purchasing smartphones that were free from defect, when in fact the

smartphones were defective.

       279.    Samsung’s conduct proximately caused injuries to Plaintiff and the Subclass

members.

       280.    Plaintiff and the Subclass members were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of Samsung’s conduct, Plaintiff and the

Subclass members overpaid for their Samsung Devices and did not receive the benefit of their

bargain, and their Samsung Devices have suffered a diminution in value. These injuries are the

direct and natural consequence of Samsung’s misrepresentations and omissions.

       281.    Defendants’ unlawful acts and practices complained of herein affect the public

interest as their actions offend public policy and are immoral, unethical, oppressive, unscrupulous,

and substantially injurious to consumers.

       282.    As a direct and proximate result of Samsung’s violations of the South Carolina

UTPA, Plaintiff and the Subclass members have suffered injury-in-fact and/or actual damage.

       283.    Pursuant to S.C. Code Ann. § 39-5-140(a), Samsung is liable to Plaintiff and the

Subclass for damages in amounts to be proven at trial, treble damages for willful and knowing

violations, punitive damages, and attorneys’ fees and costs, as well as any other remedies the Court

may deem appropriate under the South Carolina UTPA.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of the members of the Nationwide

 Class, the Alabama Subclass, the California Subclass, the Florida Subclass, the Illinois Subclass,



                                               - 61 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 66 of 67 PageID: 66




 the Iowa Subclass, the Massachusetts Subclass, and the South Carolina Subclass, respectfully

 request that the Court certify the proposed Nationwide Class and respective State Subclasses,

 including designating the named Plaintiffs as representative of the Nationwide Class and the

 respective State Subclasses and appointing the undersigned as Class Counsel under the applicable

 provisions of Fed. R. Civ. P. 23, and that the Court enter judgment in their favor and against

 Defendants including the following relief:

        A.      An award of declaratory relief, enjoining Defendants from continuing the unlawful,

deceptive, fraudulent, harmful, and unfair business conduct and practices alleged herein;

        B.      An award of restitution, compensatory damages, and costs for economic loss and

out-of-pocket costs;

        C.      An award of punitive and exemplary damages under applicable law;

       D.     A determination that Defendants are financially responsible for all Class notices
and the administration of class relief;

        E.      An award of any applicable statutory or civil penalties;

        F.      An order requiring Defendants to pay both pre-judgment and post-judgment interest

on any amounts awarded;

        G.      An award of reasonable counsel fees, plus reimbursement of reasonable costs,

expenses, and disbursements, including reasonable allowances for the fees of experts

        H.      Leave to amend this Complaint to conform to the evidence produced in discovery

and at trial; and

        I.      Any such other and further relief the Court deems just and equitable.

                                  DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

 Civil Procedure, of all issues so triable.



                                               - 62 -
Case 2:22-cv-02057-JMV-AME Document 1 Filed 04/08/22 Page 67 of 67 PageID: 67




Dated: April 8, 2022                         Respectfully submitted,

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                                    - 63 -
